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12

13                                  UNITED STATES DISTRICT COURT
14                             NORTHERN DISTRICT OF CALIFORNIA
15                                     SAN FRANCISCO DIVISION
16

17     BIT GLOBAL DIGITAL LIMITED,                     Case No. 3:24-cv-09019-AMO
18                                    Plaintiff,
19                                                     DECLARATION OF DANIEL KIM IN
               v.                                      SUPPORT OF COINBASE’S
20     COINBASE GLOBAL, INC.,                          OPPOSITION TO EX PARTE
                                                       EMERGENCY MOTION FOR
21                                    Defendant.       TEMPORARY RESTRAINING ORDER
                                                       AND PRELIMINARY INJUNCTION
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 1     I, Daniel Kim, declare as follows:

 2            1.      I am the Vice President of Business Development and Head of Listings at Coinbase,

 3     Inc. (“Coinbase”). I lead a team that empowers developers to deliver the power of crypto to

 4     everyone, everyday, anywhere in the world. Specifically, Coinbase’s Listings team, which reports

 5     to me, is responsible for evaluating and approving digital assets to be issued on Coinbase’s

 6     platform. Based on my experience, and my review of Coinbase’s internal data, I have personal

 7     knowledge of the facts set forth below.

 8            2.      Before joining Coinbase in 2021, I served in executive roles at multiple technology

 9     companies in the Bay Area, and also gained experience in financial analysis and investment

10     banking at Deloitte & Touche LLP and JP Morgan, among other institutions.

11     I.     Cryptocurrency

12            3.      Cryptocurrency is digital currency that uses cryptography to enable secure

13     transactions, rather than relying on a bank or government. It was created in the late 2000s and

14     emerged in the early 2010s as an alternative to traditional financial systems. Today, the global

15     cryptocurrency market cap is approximately $3.79 trillion.

16            4.      Cryptocurrency gained traction as a financial system because of its decentralization

17     and independence from banks and governments. However, like any financial system, there are

18     risks. Thus, consumer confidence is paramount to making the system work.
19            5.      Each type of cryptocurrency operates by using a digital ledger, called the

20     blockchain, to track transactions. Rather than being stored in one location, the blockchain is

21     distributed across users’ machines.

22            6.      Bitcoin was the first cryptocurrency and continues to be the most well-known one.

23     Bitcoin’s focus on blockchain security helped it gain popularity, and over time it became the most

24     valuable cryptocurrency. Since the creation of Bitcoin, new cryptocurrencies have emerged.

25            7.      One of those newer cryptocurrencies is Ethereum. “Ethereum” can refer either to

26     the digital asset itself (although it is also known as Ether) or to the Ethereum network. Ethereum’s
27     most notable advantage over Bitcoin is that Ethereum can run “smart contracts”—computer

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 1     programs that automatically execute certain transactions when predetermined conditions are met.

 2     Smart contracts are valuable in that they simplify business, eliminate intermediaries, and cannot

 3     be altered once written. While Bitcoin can store transactions on its blockchain, it cannot run smart

 4     contracts.

 5     II.    Coinbase

 6            8.      A cryptocurrency exchange allows users to buy, sell, store, and exchange

 7     cryptocurrencies (or “digital assets”).

 8            9.      Coinbase operates an exchange that currently supports over 270 types of digital

 9     assets, including Bitcoin and Ethereum. Coinbase provides its customers with a trusted platform

10     on which they can buy, sell, store, and exchange digital assets. This combination of services makes

11     Coinbase a “centralized” exchange. Coinbase Global, Inc., the parent of Coinbase, Inc., has been

12     a publicly traded U.S. company on the Nasdaq exchange since April 2021, and is audited by

13     Deloitte & Touche LLP.

14            10.     Coinbase is the largest U.S.-based cryptocurrency exchange, but it faces robust

15     competition from dozens of other centralized exchanges. Many exchanges experience rapid

16     growth during bull markets, and in recent months, the exchange crypto.com has gained a

17     significant share of the U.S. trading volume, at times surpassing Coinbase’s share of volume.

18     Globally, the largest exchange is Binance.
19            11.     Beyond centralized exchanges, Coinbase also faces increasing competition from

20     decentralized exchanges (or “DEX”), which are peer-to-peer marketplaces where transactions

21     occur directly between crypto traders. The most popular DEXs—like Uniswap—utilize the

22     Ethereum blockchain and allow users to trade digital assets without an intermediary.

23     III.   “Wrapped” Tokens

24            12.     Because different blockchains, like Bitcoin and Ethereum, have different protocols

25     and algorithms, digital assets on one network are typically incompatible with other networks.

26     “Wrapped” tokens are an innovation that was developed in part to overcome this interoperability
27     challenge, by using smart contracts to lock a digital asset and “wrapping” that asset with a newly

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 1     issued token representing the locked one. Simply put, one can “wrap” Bitcoin in an Ethereum

 2     wrapper so that the Bitcoin can be used in transactions on the Ethereum network.

 3                13.   A user “wraps”—or “mints”—Bitcoin by giving Bitcoin to a merchant. The

 4     merchant deposits that Bitcoin with a custodian, and the custodian issues new tokens of equivalent

 5     value to the deposited Bitcoin on another blockchain network, such as Ethereum. These new

 6     tokens, the wrapped Bitcoin, act as a proxy for the underlying Bitcoin asset, and the custodian

 7     holds the Bitcoin for the user. Wrapped Bitcoin, therefore, enables holders of Bitcoin to participate

 8     on non-native platforms, like Ethereum, without having to sell their Bitcoin.

 9                14.   Because wrapped Bitcoin is backed by Bitcoin, the value of wrapped Bitcoin

10     generally tracks that of Bitcoin. If a wrapped Bitcoin owner wants to redeem their wrapped Bitcoin

11     for the underlying Bitcoin, they can inform the merchant, who will send the wrapped Bitcoin to

12     the custodian. The custodian then “burns” the wrapped Bitcoin and returns the appropriate amount

13     of Bitcoin back to the user via the merchant. Wrapped Bitcoin can also be traded or sold to third

14     parties.

15                15.   Wrapped Bitcoin has a key risk that Bitcoin does not. While the holder of a Bitcoin

16     possesses the Bitcoin, holders of the wrapped token rely on the custodian of the underlying Bitcoin

17     to hold that asset for them. If the custodian of the wrapped Bitcoin misappropriates it (e.g., by

18     trading it to someone else), the holders of the wrapped token would be left with a worthless asset.
19     Similarly, if the custodian were to be hacked or compromised, the wrapped token could become

20     worthless. It is therefore critical that custodians of wrapped Bitcoin be trustworthy.

21     IV.        wBTC and Wrapped Bitcoin

22                16.   In January 2019, digital asset company BitGo began issuing its wrapped Bitcoin

23     tokens (known as “wBTC”) on the Ethereum network.

24                17.   After satisfying Coinbase’s listing standards, wBTC was approved for listing on

25     Coinbase’s exchange in October 2020.              I understand that my colleague, Court Hillman, is

26     submitting a declaration to the Court describing in further detail the process by which wBTC was
27     listed, so I do not go into those details here.

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 1            18.       wBTC is only one of several types of wrapped Bitcoin. Others include tBTC,

 2     renBTC, and, most recently, Coinbase’s wrapped Bitcoin, cbBTC. Different exchanges offer

 3     different wrapped Bitcoin tokens. For example, Binance offers only wBTC, whereas an exchange

 4     known as Kraken offers wBTC, tBTC, and its own wrapped Bitcoin, kBTC.

 5            19.       Because all wrapped Bitcoin tokens aim to track the price of Bitcoin, fluctuations

 6     in the value of Bitcoin affect the value of the various wrapped Bitcoin tokens similarly.

 7     V.     The Market’s Reaction to BitGo’s Joint Venture with BiT Global

 8            20.       In August 2024, BitGo announced a joint venture with BiT Global, a Hong Kong-

 9     based company affiliated with Justin Sun, and Mr. Sun’s cryptocurrency network, the TRON

10     ecosystem. Pursuant to this change in control, BitGo would hold only a minority stake in the joint

11     venture and the majority stake would be owned by BiT Global. This would also result in custody

12     of the underlying Bitcoin being split across multiple jurisdictions, including Hong Kong and

13     Singapore.

14            21.       The crypto community reacted with alarm to the BitGo announcement.

15     MakerDAO—a prominent decentralized blockchain protocol on Ethereum that enables users to

16     borrow and lend cryptocurrencies—stated: “On the whole, we find that Sun’s involvement as a

17     controlling interest in the new WBTC joint venture presents an unacceptable level of risk.”

18     Numerous members of the crypto community made similar statements on X in response to the
19     official announcement:

20                  •   “This is insane . . . Justin Sun? You have to be joking. Who would ever trust

21                      this guy?

22                  •   “This kills the WBTC.”

23                  •   “Will sell my wBTC”

24                  •   “One of the worst strategic decisions I have ever seen.”

25                  •   “Justin Sun bout to do some more crime yall.”

26                  •   “Jahahahhaha sharing a key with Justin Sun????                    ”
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 1            22.     The crypto community had good reason for its alarm. Mr. Sun has had a long

 2     history of suspicious conduct that has drawn scrutiny from the crypto community and regulators

 3     alike. When he first launched the TRON cryptocurrency ecosystem in 2017, for example,

 4     researchers immediately noticed suspicious similarities between TRON and other existing

 5     platforms. Juan Benet, the founder of Protocol Labs, noticed that 9 pages of the TRON whitepaper

 6     had been directly plagiarized from Benet’s prior work. Digital Asset Research, a cryptocurrency

 7     security research firm, similarly found that TRON had directly copied code from the Ethereum

 8     protocol.

 9            23.     In 2019, Mr. Sun acquired the cryptocurrency exchange Poloniex. It has been

10     reported in a lengthy expose by The Verge that Mr. Sun moved the company’s registration to the

11     Seychelles and employed a variety of questionable tactics to increase profitability and enrich

12     himself.1 As one example, The Verge reported that he encouraged employees to ignore Poloniex’s

13     Know Your Customer (“KYC”) program to increase the number of customers on the exchange.

14     “Know-your-customer” rules are enforced by companies to prevent fraud on their platforms, and

15     are sometimes required by government regulators. KYC information is often checked against

16     databases of known criminals who are banned from the international financial system to ensure

17     that the exchange is not an end-run around restrictions. According to The Verge’s investigation,

18     “Sun also began impatiently bulldozing Poloniex’s KYC rules, which were slowing Poloniex’s
19     user adoption in China to a crawl. A former employee said the logjam enraged Sun. ‘Fake the

20     KYC!’ he screamed at one meeting. ‘Fake it!’” As another example, The Verge reported that Mr.

21     Sun initiated a project “Operation Couch Cushions” that channeled residual assets (assets trapped

22     in an old exchange that were unrecoverable or forgotten by their owners, which might be small

23     amounts for any individual but were substantial in aggregate) from user accounts to a Poloniex-

24     controlled account. According to The Verge, the change collected from the digital couch cushions

25     amounted to roughly 300 Bitcoin worth $20 million dollars at the time (now worth over $30

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27     1
        Harland-Dunaway, Christopher, “The Many Escapes of Justin Sun,” THE VERGE (Mar. 9, 2022),
       https://www.theverge.com/c/22947663/justin-sun-tron-cryptocurrency-poloniex.
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 1     million), and according to employees it was “understood Justin Sun would take the Bitcoin

 2     personally. According to a former employee, Sun continually asked people involved with the

 3     project one question: ‘Where’s my 300 Bitcoin?’”

 4             24.     Mr. Sun has also been investigated and sued for manipulating the price of TRX,

 5     TRON’s flagship cryptocurrency. In 2023, Mr. Sun was sued by the SEC for allegedly engaging

 6     in fraudulent activities such as “wash trading” (market manipulation where the same entity buys

 7     and sells financial instruments to create the false impression of market activity to drive up price)

 8     in the secondary market for TRX in order to raise its price. That case is SEC v. Sun, No. 1:23-cv-

 9     02433 (S.D.N.Y. Mar. 22, 2023).

10             25.     It has also been reported that as of 2022, Mr. Sun was under investigation by the

11     FBI and the U.S. Attorney’s Office for the Southern District of New York for potential criminal

12     charges.2

13             26.     Since the August announcement that Mr. Sun’s BiT Global would take over

14     majority control of wBTC, the risk team at MakerDAO published a post on its forum expressing

15     its concerns about the joint venture and proposing that wBTC be delisted as collateral.

16     Additionally, the MakerDAO team observed that, after a different digital asset, TUSD, was placed

17     into Justin Sun’s control, its management team promptly resigned and the quality and transparency

18     of its services dramatically deteriorated.
19             27.     Since the news of Mr. Sun’s involvement, the total supply of wBTC has dropped

20     precipitously, from over 154,000 wBTC tokens on August 1, 2024, to less than 147,000 tokens on

21     November 18, 2024—the equivalent of roughly $713 million. Part of this drop is attributable to

22     HTX, an exchange owned by Mr. Sun, which burned over 5,000 tokens that had not previously

23     been declared as being in HTX’s reserves. And all of this drop preceded the announcement of

24     Coinbase’s decision to delist wBTC.

25             28.     I understand that Mr. Hillman will discuss Coinbase’s reaction to the announcement

26     of Mr. Sun’s involvement in wBTC in his declaration, so I do not address it in detail here. Suffice
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        See Harland-Dunaway, supra n.1.
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 1     it to say that Coinbase had significant concerns about continuing to list a digital asset now affiliated

 2     with Mr. Sun and began an internal review process to evaluate whether that asset continued to

 3     meet Coinbase’s listing standards.

 4     VI.     Launch of cbBTC

 5             29.      Coinbase has been considering releasing its own wrapped Bitcoin product for

 6     several years.

 7             30.      Recently, Coinbase has seen enormous growth in its Base L2 protocol (“Base”),

 8     which connects to the Ethereum network and allows faster, cheaper trades than on Ethereum itself.

 9     But because Bitcoin cannot operate on Ethereum, Base requires a wrapped Bitcoin product in order

10     to have access to Bitcoin.

11             31.      Before the launch of cbBTC, Coinbase relied on wBTC to ensure Base could have

12     access to the Bitcoin market.

13             32.      As noted, trust is essential for wrapped cryptocurrency assets like wBTC. Once

14     Coinbase lost trust in wBTC, upon the August announcement that Mr. Sun (and his entities) would

15     be affiliated with wBTC, Coinbase recognized that there was a need for wrapped Bitcoin held in

16     custody by a trusted entity.

17             33.      Coinbase therefore decided to launch cbBTC to serve as a trusted wrapped

18     cryptocurrency.
19             34.      The launch of cbBTC generated significant interest and excitement within the

20     crypto community, and sparked optimism about the potential cbBTC offered to further integrate

21     Bitcoin into Ethereum and other more advanced blockchains. For example, commenters on Reddit

22     and Quora “express[ed] optimism about [cbBTC’s] potential to integrate Bitcoin into

23     [decentralized finance]” and praised “Coinbase’s reputation for transparency and security [which

24     has] bolstered confidence in cbBTC, distinguishing it from competitors like wBTC.”3

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       3
        Fernandez, Elena, “Coinbase Unveils CbBTC: Revolutionizing Bitcoin Liquidity And DeFi Integration,” CTOL
27     DIGITAL SOLS. (Sept. 12, 2024), https://www.ctol.digital/news/coinbase-launches-cbbtc-token-on-ethereum-and-
       base/#industry-and-community-reception.
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 1     VII.     Consequences of Delisting wBTC

 2              35.     As described, Coinbase’s decision to delist wBTC was based on a determination

 3     that the risks associated with wBTC (arising from the August 2024 joint venture with BiT Global)

 4     were inconsistent with Coinbase’s commitment to providing a safe and secure marketplace for its

 5     users.

 6              36.     Delisting wBTC does not remove wBTC from Coinbase’s platform and Coinbase

 7     customers still retain the option to hold and secure the wBTC they already own. They will also be

 8     free to send their wBTC to any of the many competing cryptocurrency platforms, where they can

 9     trade freely in wBTC. Users simply cannot buy or sell wBTC on Coinbase’s platform after

10     delisting.

11              37.     In addition, Coinbase users can continue to purchase wBTC through Coinbase

12     Wallet, a separate application that allows purchases through decentralized exchanges and operates

13     separately from Coinbase’s retail exchange. Coinbase Wallet is a self-custodial wallet (meaning

14     users have custody of the keys to their crypto, Coinbase does not) where thousands of digital assets

15     are available.

16              38.     As of today, wBTC remains available for purchase on other exchanges, should

17     consumers still wish to purchase the asset.

18              39.     Similarly, delisting wBTC does not force users into using cbBTC (or any other
19     wrapped Bitcoin product). Users can simply hold their existing wBTC, convert it into any other

20     product, or transfer it to other exchanges. Users can also use other wrapped Bitcoin offerings if

21     they should choose.

22              40.     Delisting wBTC is also not likely to have a material effect on the overall trading

23     market for wBTC. wBTC is largely traded on DEXs, not centralized retail platforms like Coinbase.

24     One such DEX is Uniswap, which is estimated to have a greater than 60% share of trading for

25     wBTC. Conversely, Coinbase’s share of global trading in wBTC is less than 1%. Messari (a

26     central hub for research and data related to the cryptoeconomy that many in the industry look to
27     for crypto data) indicates that wBTC trading on Uniswap and Binance is in the tens of millions of

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 1   dollars in every 24 hours, while estimating the corresponding share on Coinbase to be in the

 2   hundreds of thousands of dollars. I have attached, as Exhibit A, a true and correct printout from

 3   https://messari.io/project/wrapped-bitcoin/markets, captured on the day of this filing.

 4          41.     It is also important to note that Coinbase is a secondary market for wBTC and thus

 5   Coinbase does not impact the amount of wBTC in circulation. In other words, buying wBTC on

 6   Coinbase does not involve wrapping or minting (no new wBTC is created); instead, existing wBTC

 7   is traded, so the net impact on wBTC is always zero. Similarly, a sale of wBTC on Coinbase does

 8   not involve burning—instead, existing wBTC is traded.

 9          42.     Moreover, Coinbase’s delisting decision is not a permanent one. Coinbase could

10   decide to relist wBTC in the future if the circumstances that resulted in the delisting change.

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 1   I declare under penalty of perjury that the foregoing is true and correct, and that this declaration

 2   was executed on December 17, 2024, in Oakland, California.

 3
                                                   /s/ Daniel Kim
 4                                                  Daniel Kim
 5

 6

 7                                    ATTORNEY ATTESTATION
 8
     I, Sonal N. Mehta, am the ECF User whose ID and password are being used to file the foregoing.
 9
     In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that concurrence in the filing of this
10
     document has been obtained from each signatory.
11

12
                                                   By: /s/ Sonal N. Mehta
13                                                    Sonal N. Mehta

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